                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE DIVISION

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                                                                  :
  LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-00121-TAV-DCP
  beneficiary of the Kenneth Ray Martin Roth IRA,                 :
  and MARTIN WEAKLEY on behalf of themselves :
  and all others similarly situated,                              :
                                                                  :
                                      Plaintiffs,                 :
                                                                  :
                             v.                                   :
                                                                  :
  KPMG LLP,                                                       :
                                                                  :
                                      Defendant.                  :
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                        KPMG LLP’S MOTION TO EXCLUDE THE
                     REPORTS AND TESTIMONY OF CHAD COFFMAN

         KPMG LLP (“KPMG”) moves the Court, pursuant to Federal Rule of Evidence 702 to

  exclude the reports and testimony of Chad Coffman. Mr. Coffman’s reports and opinions 

  regarding the purported efficiency of the markets for Miller Energy’s securities and whether

  damages can be calculated on a class-wide basis are unreliable for reasons set forth in the

  accompanying memorandum of law, filed contemporaneously herewith.

         KPMG requests that the Court hold an evidentiary hearing on the (lack of) reliability of

  Mr. Coffman’s opinions.

  Dated: May 21, 2019                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and exact copy of the foregoing has been served to the following
  individuals via the CM/ECF system this 21st day of May, 2019:

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                                                       /s/ Gregory Ballard
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